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16                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                               SAN FRANCISCO DIVISION
18
   PEOPLE CENTER, INC. D/B/A RIPPLING, a        Case No. 3:25-CV-2576-CRB
19 Delaware corporation,
                                                The Hon. Charles R. Breyer
20               Plaintiff,
21                                              STIPULATION REGARDING
           vs.                                  DEADLINES RELATING TO FIRST
22                                              AMENDED COMPLAINT : ORDER
   DEEL, INC., a Delaware corporation, and
23 DOES 1 – 100,                                Judge: Hon. Charles R. Breyer
                                                Compl. Filed: March 17, 2025
24
                 Defendants.
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                                                                         Case No. 3:25-CV-2576-CRB
                                                                  STIPULATION REGARDING DEADLINES
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 1          Pursuant to Federal Rule of Civil Procedure (“Rule”) 12 and Civil Local Rule 6-1(a),

 2 Plaintiff PEOPLE CENTER, INC. D/B/A RIPPLING, (“Plaintiff”) and Defendant DEEL, INC.,

 3 (“Defendant”), through their respective attorneys of record, hereby stipulate as follows:

 4          WHEREAS, Plaintiff served Defendant with the Complaint on March 17, 2025;

 5          WHEREAS, the Court previously entered an Order approving the Parties’ stipulated briefing

 6 schedule for any motion filed by Defendant in response to the Complaint (Dkt. 46);

 7          WHEREAS, Defendants filed three motions in response to the Complaint on April 25, 2025

 8 (Dkts. 48, 49, 50);

 9          WHEREAS, Plaintiff intends to file a First Amended Complaint on or before June 6, 2025,

10 which is the current deadline for Plaintiff to respond to any motion filed by Defendant in response

11 to the Complaint (Dkt. 46);

12          WHEREAS, the Parties agree that such First Amended Complaint will moot Defendants’

13 pending motions directed to the original Complaint (Dkts. 48, 49, 50), and will therefore moot the

14 deadlines relating to those pending motions (see Dkt. 46);

15          WHEREAS, Civil Local Rule 6-1(a) permits parties to extend the time within which to

16 answer or otherwise respond to a complaint by stipulation in writing and without a Court order,

17 provided the change will not alter the date of any event or any deadline already fixed by Court order;

18          WHEREAS, the Parties agree that extending the deadline for Defendant to respond to the

19 First Amended Complaint will not alter the date of any event or any deadline already fixed by Court

20 order; and

21          WHEREAS, both Parties agree that neither party will seek to stay discovery in connection

22 with or while any motions to dismiss are pending;

23          NOW, THEREFORE, the Parties hereby agree and stipulate:

24      1. The deadline for Plaintiff to file a First Amended Complaint shall be June 6, 2025.

25      2. Neither party will seek to stay discovery in connection with or while any motions to dismiss

26          are pending.
27      3. The briefing schedule for any motion(s) filed by Defendant in response to the First Amended

28          Complaint is as follows:

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 1
              a. Defendant’s Responsive Motion Due Date: July 11, 2025
 2
              b. Plaintiff’s Opposition Due Date: August 8, 2025
 3
              c. Defendant’s Reply Due Date: September 5, 2025
 4                           September 19, 2025 at 10:00 a.m. by video conference
              d. Hearing: October 3, 2025, or any other date of the Court’s choosing.
 5
       4. This stipulation is without prejudice to, or waiver of, any rights or defenses available to the
 6
          Parties.
 7
          IT IS SO STIPULATED.
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     Dated: May 16, 2025                           Respectfully submitted,
11
                                                   /s/ __Jason D. Russell____________________
12                                                 Jason D. Russell
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                                                   Counsel for Defendant Deel, Inc.
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 1
     Dated: May 16, 2025              /s/_Kathleen S. Messinger_________________
 2                                    Kathleen S. Messinger

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16
                                      Counsel for Plaintiff People Center, Inc. D/B/A
17                                    Rippling

18

19   Dated: May 16, 2025              I, Kathleen S. Messinger, attest that all other
                                      signatories listed, and on whose behalf this
20                                    filing is submitted, concur in the filing’s
                                      content and have authorized its filing.
21
                                      /s/ _Kathleen S. Messinger_________________
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                                            -3-                           Case No. 3:25-CV-2576-CRB
                                                                   STIPULATION REGARDING DEADLINES
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 1
                                       [PROPOSED] ORDER
 2
           Based on the stipulation of the signed parties, and good cause appearing, IT IS HEREBY
 3
     ORDERED that the Stipulation is approved.
 4

 5         IT IS SO ORDERED.

 6
     DATED: ________________
             May 16, 2025
 7                                               _________________________________________
                                                            HONORABLE CHARLES R. BREYER
 8
                                                             UNITED STATES DISTRICT JUDGE
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                                                   -4-                           Case No. 3:25-CV-2576-CRB
                                                                          STIPULATION REGARDING DEADLINES
